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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                       Plaintiff,                                        8:11CR39

       vs.
                                                              MEMORANDUM AND ORDER
CHRISTIAN FLORES,

                       Defendant.


       This matter is before the court on the defendant's unopposed motion for a sentence

reduction, Filing No. 81. This is a motion filed pursuant to Amendment 782 to the United States

Sentencing Guidelines, (sometimes called the “drugs minus two” or the “2014 drug guidelines

amendment”) which reduces offense levels assigned in the Drug Quantity Table by two levels,

resulting in lower guideline ranges for many drug trafficking offenses. See U.S.S.G. § 1B1.10(d) &

(e)(1) (Nov. 1, 2014). The Sentencing Commission has given retroactive effect to the amendment.

Id., U.S.S.G., App. C (Supp.), amendment 788 at 87-88.

       The parties stipulate that that the retroactive amendment to the drug quantity table changes

the total adjusted offense level in the defendant's case from 29 to 27 and the defendant's guideline

range from 87 to 108 months to 70 to 87 months imprisonment. Filing No. 82, Stipulation. The

government and the defense agree that the new reduced sentence under the amended guidelines

should be 70 months based on the prior computation of specific offense characteristics, adjustments,

and any departures. Id. The parties further agree that the defendant may be re-sentenced without

being present and without further notice and that any supervised release should be the same term

and conditions as originally decided. Id.

       In consideration of the factors set out in 18 U.S.C. § 3553(a), the court finds that a sentence

reduction will satisfy the goals of sentencing in this case. The court has considered the nature and

circumstances of the offense, the characteristics of the offender, public safety, deterrence, and the

sentencing guidelines in making this decision.     In connection with public safety, the court has
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reviewed the defendant's record while in prison and considered whether a reduction in defendant's

sentence poses a danger to any person or to the community.

        The record shows that the defendant is eligible for a 17 month reduction in sentence

resulting in a new sentence of 70 months. See Filing No. 78, Retroactive Sentencing Worksheet

(restricted).   Accordingly, it is hereby ordered that:

        1.       The defendant's unopposed motion for a sentence reduction (Filing No. 81) is

hereby granted.

        2.       The parties’ stipulation regarding sentence reduction (Filing No. 82) is approved.

        3.       An Order Regarding Motion For Sentence Reduction Pursuant To 18 U.S.C. §

3582(C)(2) will issue this date, effective November 2, 2015.

        Dated this 18th day of June, 2015.

                                                          BY THE COURT:

                                                          s/ Joseph F. Bataillon
                                                          Senior United States District Judge




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